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              United States Court of Appeals
                               For the First Circuit
                                  _____________________
No. 21-1070


                                     BENOIT BALDWIN,

                                     Plaintiff - Appellant,

                                               v.

   TOWN OF WEST TISBURY, MA; RICHARD KNABEL, individually and in his official
      capacity; JEFFREY MANTER, individually and in his official capacity; CYNTHIA
 MITCHELL, individually and in her official capacity; JENNIFER RAND, individually and in
    her official capacity; RONALD RAPPAPORT, individually and in his official capacity;
DANIEL ROSSI, individually and in his official capacity; GARRISON VIERA, individually and
   in his official capacity; GEOFFREY FREEMAN, individually and in his official capacity;
 SAMANTHA CHURCH; JAMES HICKEY; KYLE NEWELL; JOSEPH NOEL; VINEYARD
      GAZETTE, LLC; HEATHER HAMACEK; MV TIMES CORPORATION; EDITH
                                       PRESCOTT,

                                    Defendants - Appellees,

                             DUKES COUNTY; JOSEPH NOEL,

                                        Defendants.
                                    __________________

                                             Before

                                    Barron, Chief Judge,
                            Lynch and Thompson, Circuit Judges.
                                   __________________

                                         JUDGMENT

                                     Entered: June 7, 2022

       The court has reviewed the "Appellant's Response to the Order to Show Cause." We
dismiss the appeal for lack of finality. See Local Rule 27.0(c).

      With its docket entry of March 25, 2021, the district court stated:
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               Dukes County's Motion to Dismiss will be allowed when the First
               Circuit remands the case. Meanwhile the case is STAYED pending
               appeal.

       Once the district court has effectuated that course of action or otherwise has disposed of
the underlying matter in full, any party may appeal via the filing of a new notice of appeal that
complies with, inter alia, Fed. R. App. P. 3 & 4.

       The clerk shall transmit a copy of this judgment for docketing in the district court.

       So Ordered.



                                                     By the Court:

                                                     Maria R. Hamilton, Clerk




cc:
Hon. Patti B. Saris
Robert Farrell, Clerk, United States District Court for the District of Massachusetts
Benoit Baldwin
Deborah I. Ecker
Janelle M. Austin
Doyle C. Valley
Austin Michael Joyce
Rachel J. Eisenhaure
David S. Mackey
Christina S. Marshall
Samantha Church
James Hickey
Joseph Noel
Ernest Douglas Sederholm
John Mark Dickison
Brendan P. Slean
